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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

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SOMPO JAPAN INSURANCE INC.,                                            Case No.: 22-cv-10187

                          Plaintiff,
                                                                       NOTICE OF DISMISSAL
        - against –                                                    PURSUANT TO F.R.C.P.
                                                                       41(a)(1)(A)(i)
FORWARD AIR CORP.,

                           Defendant.
------------------------------------------------------------x

        NOTICE IS HEREBY GIVEN, by counsel for Plaintiff, that no defendant having

appeared in this action, the above-entitled action is hereby dismissed voluntarily with prejudice,

with each party bearing its own costs and fees, pursuant to Rule 41(a)(1)(A)(i) of the Federal

Rules of Civil Procedure.

Dated: New York, NY
       March 15, 2022

                                                                HILL RIVKINS LLP
                                                                Attorneys for Plaintiff

                                                                By:

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The Clerk of the Court is directed to close the case.

SO ORDERED:

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